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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9   PETER SCHNEIDER, a Washington resident,

10                               Plaintiff,           NO.

11         vs.                                         NOTICE OF REMOVAL
                                                      (FEDERAL QUESTION)
12   CREDIT CONTROL SERVICES, INC. dba
     CREDIT COLLECTION SERVICES, a
13   Massachusetts corporation and licensed           CLERK’S ACTION REQUIRED
     collection agency,
14
                                 Defendant.
15

16          PLEASE TAKE NOTICE that Defendant, Credit Control Services, Inc. d/b/a Credit

17   Collection Services, by and through its undersigned counsel, Gordon Rees Scully Manuskhani

18   LLP, hereby removes to this Court the State Court action described below:

19                                 I.   PROCEDURAL HISTORY

20          1.    Defendant first received notice of the Action on or about October 15, 2021, when

21   they were served with the Summons and Complaint. A true and correct copy of Plaintiff’s

22   Summons and Complaint in the Action is attached hereto as Exhibit A.

23          2.    Based on reasonable inquiry, and on information and belief, as of the filing of this

24   Notice of Removal, Plaintiff have not yet filed the Complaint in King County Superior Court.

25   Plaintiff commenced this action against Defendant by service of process pursuant to Washington

26
                                                                       GORDON REES SCULLY
     NOTICE OF REMOVAL - 1
     (Case No. __________)                                             MANSUKHANI, LLP
                                                                       701 Fifth Avenue, Suite 2100
                                                                       Seattle, WA 98104
                                                                       Telephone:
                                                                       Facsimile: (206) 689-2822
                 Case 2:21-cv-01493 Document 1 Filed 11/04/21 Page 2 of 4




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     Civil Rule 4. Accordingly, there is no King County Superior Court case number and no record
 2
     of the state court proceeding available other than the unfiled Summons and Complaint.
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            3.     Based on the foregoing, Defendant has timely filed this Notice of Removal within
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     thirty days of being served with the Summons and Complaint and within thirty days of the date
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     that the Action was first removable. See 28 U.S.C. § 1446(b).
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            4.     The Superior Court of the State of Washington In and for the Court of King
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     County, is located within the jurisdiction of the United States Court for the Western District of
 8
     Washington. This Court is the court embracing the place where the action is pending.
 9
            5.     This Action is removable to the United States District Court for the Western
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     District of Washington, from the Superior Court of King County, State of Washington, pursuant
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     to 28 U.S.C. §1331 and §1441.
12
                            II.   FEDERAL QUESTION JURISDICTION
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            6.     This Complaint is a civil action of which this Court has original jurisdiction under
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     28 U.S.C. §1331, and is one which may be removed to this Court by Defendant pursuant to the
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     provisions of 28 U.S.C. §1441(a), in that it arises, in part, under the Fair Debt Collection
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     Practices Act, 15 U.S.C. §1692, et seq. (“FDCPA”).
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            7.     The Complaint alleges, in part, claims asserted under the Fair Debt Collection
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     Practices Act, 15 U.S.C. §1692, et seq. As such, this Court has Federal Question jurisdiction
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     over this action pursuant to 28 U.S.C. §1331. Moreover, pursuant to 28 U.S.C. §1367, this Court
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     has supplemental jurisdiction over the various state and/or common law claims asserted by
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     Plaintiff, because such claims arise out of the same alleged facts that underlie the federal claims,
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     and thus, are so related to same that they form part of the same case or controversy.
23
            8.     Defendant has provided written notice of this Petition for Removal to Plaintiff,
24
     and, additionally, will file a copy with the Superior Court of Washington County, King County,
25
     as required by 28 U.S.C. §1446(d).
26
                                                                          GORDON REES SCULLY
     NOTICE OF REMOVAL - 2
     (Case No. __________)                                                MANSUKHANI, LLP
                                                                          701 Fifth Avenue, Suite 2100
                                                                          Seattle, WA 98104
                                                                          Telephone:
                                                                          Facsimile: (206) 689-2822
                 Case 2:21-cv-01493 Document 1 Filed 11/04/21 Page 3 of 4




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             WHEREFORE, Defendant removes to this Court the above-entitled action from the
 2
     Superior Court of Washington in and for King County to the United States District Court for the
 3
     Western District of Washington pursuant to the provisions of 28 U.S.C. §§1331 and 1446.
 4
           Dated: November 4, 2021.
 5
                                              GORDON REES SCULLY MANSUKHANI, LLP
 6

 7
                                                By:    s/ Mark B. Tuvim
 8                                                     Mark B. Tuvim, WSBA #31909

 9                                              By:    s/ Amy P. Taylor
                                                       Amy P. Taylor, WSBA #53644
10                                                     701 Fifth Avenue, Suite 2100
                                                       Seattle, WA 98104
11                                                     Phone: (206) 695-5144
                                                       Fax: (206) 689-2822
12                                                     mtuvim@grsm.com
                                                       ataylor@grsm.com
13
                                                       Attorneys for Defendant Credit Control
14                                                     Services, Inc. d/b/a Credit Collection
                                                       Services
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                                                                       GORDON REES SCULLY
     NOTICE OF REMOVAL - 3
     (Case No. __________)                                             MANSUKHANI, LLP
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                                                                       Seattle, WA 98104
                                                                       Telephone:
                                                                       Facsimile: (206) 689-2822
                 Case 2:21-cv-01493 Document 1 Filed 11/04/21 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that a true and correct copy of the foregoing Notice of
 3
     Removal has been served upon Plaintiff by their counsel on November 4, 2021, via electronic
 4
     mail and/or United States First-Class mail, postage prepaid:
 5
                           Peter Schneider, Esq.
 6                         Schneider Law Offices
 7                         10900 NE 4th Street, Suite 2300
                           Bellevue, Washington 98004
 8                         Email: Peter@lpglaw.com

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10
                                                        s/ Amy P. Taylor
11                                                      Amy P. Taylor, Esq.
12

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                                                                      GORDON REES SCULLY
     NOTICE OF REMOVAL - 4
     (Case No. __________)                                            MANSUKHANI, LLP
                                                                      701 Fifth Avenue, Suite 2100
                                                                      Seattle, WA 98104
                                                                      Telephone:
                                                                      Facsimile: (206) 689-2822
